Case: 4:10-cr-00048-HEA            Doc. #: 40      Filed: 04/14/10     Page: 1 of 2 PageID #: 83




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
        Plaintiff,                                 )
                                                   )
v.                                                 )   No. 4:10CR48 HEA
                                                   )
KEVIN STACY,                                       )
                                                   )
        Defendant.                                 )

                                                 ORDER

        This matter comes before the Court upon Defendant’s Motion to Continue [Doc. #35] and

the Waiver of Speedy Trial [Doc. #38]. Plaintiff does not object to this motion.

        This Court, upon careful consideration of the motion of Defendant, and on review of the

record, finds that the ends of justice would best be served by continuing the trial setting as to

Defendant Kevin W. Stacy to May 3, 2010, and that a continuance of these proceedings

outweighs the best interest of the public and the defendant in a speedy trial. Furthermore, failure

to grant a continuance would deny counsel for the Defendant and the Government the reasonable

time necessary for effective preparation, taking into account the exercise of due diligence.

        Defendant has previously filed with this Court a signed Waiver of Speedy Trial under the

Speedy Trial Act, 18 U.S.C. §3161, [Doc. #38].

        Concluding that the administration of justice will best be served by continuing this case,

the Court will reset trial in this proceeding.

        Accordingly,

        IT IS HEREBY ORDERED, that the trial setting as to Defendant Kevin W. Stacy is
Case: 4:10-cr-00048-HEA        Doc. #: 40     Filed: 04/14/10   Page: 2 of 2 PageID #: 84




RESET to May 3, 2010, at 9:30 a.m.

      Dated this 14th day of April, 2010.



                                            ________________________________________
                                                  HENRY EDWARD AUTREY
                                                UNITED STATES DISTRICT JUDGE




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